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     SHERRY TAGGART
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9
                               IN THE UNITED STATES DISTRICT COURT
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13    UNITED STATES OF AMERICA,                   ) Case No. 2:14-CR-0099 KJM
                                                  )
14                              Plaintiff,        )
                                                  ) RELEASE ORDER
15                  vs.                           )
                                                  )
16    SHERRY TAGGART,                             )
                                                  ) Judge: Hon. Carolyn K. Delaney
17                              Defendant.        )
                                                  )
18                                                )
19
20             On April 7, 2014, the Court ordered defendant Sherry Taggart released on her own
21   recognizance to be admitted to The Effort residential treatment facility, but stayed the order
22   pending the availability of a bed. The Court directed Pretrial Services to notify the court when a
23   bed became available so that the Court could process a release order.
24             Pretrial Services notified defense counsel (Zindel) this morning that a bed will become
25   available this weekend. They asked defense counsel to prepare an order of release directing that
26   Ms. Taggart be released no later than 9:00 a.m. on Monday, May 5, to the Pretrial Services
27   office.    Defense counsel advised A.U.S.A. Kyle Reardon who stated that the government does
28   not oppose issuing an order of release.

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1           The Federal Defender’s Office will transport Ms. Taggart from Pretrial Services to The
2    Effort on Monday morning after she meets with her Pretrial Services officer.
3           Accordingly, the Court orders Ms. Taggart released to the Pretrial Services Office no
4    later than 9:00 a.m. on Monday, May 5, 2014, for transportation to The Effort.
5           IT IS SO ORDERED.
6
7    Dated: May 2, 2014
                                                    _____________________________________
8                                                   CAROLYN K. DELANEY
                                                    UNITED STATES MAGISTRATE JUDGE
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